Case 19-10968-TPA            Doc 6     Filed 09/27/19 Entered 09/27/19 13:27:36                      Desc Main
                                       Document Page 1 of 1
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                     ERIE DIVISION


                                                     )
   In re                                             )     Chapter 13
                                                     )
   DANIEL D STRONG,                                  )     Case No. 19-10968-TPA
   Debtor(s)                                         )
                                                     )     BANKRUPTCY JUDGE
                                                     )     THOMAS P AGRESTI




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

  PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

  Bank (Sam's Club®PersonalCredit [Last four digit of account:5294]), a creditor in the above-captioned

  chapter 13 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

  (the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

  U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

  and all papers served or required to be served in this case be also given to and served, whether

  electronically or otherwise, on:
               Synchrony Bank
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877)885-5919
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


  Dated: Norfolk, Virginia
  September 27, 2019
                                                         By: /s/ Valerie Smith
                                                         Valerie Smith
                                                         c/o PRA Receivables Management, LLC
                                                         Senior Manager
                                                         PO Box 41021
                                                         Norfolk, VA 23541
                                                         (877)885-5919

  Assignee Creditor: Sam's Club®PersonalCredit [Last four digit of account:5294]
